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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


 UNITED STATES OF AMERICA,

                             Plaintiff,
                                                                 OPINION & ORDER
        v.
                                                                      13-cr-84-jdp
 SINOVEL WIND GROUP CO., LTD.,

                             Defendant.


       On November 8, 2017, the court held a hearing on the parties’ pending motions. For

the reasons stated during the hearing, the court ruled on all pending motions save two: the

government’s motion to admit out-of-court statements, Dkt. 215, and the government’s

motion to admit a video of the search of Dejan Karabasevic’s Beijing apartment, Dkt. 236.

Since the hearing, Sinovel has moved to continue the trial. Dkt. 347. The court will address

each motion in turn.

A. Out-of-court statements

       The government seeks a pretrial ruling on the admissibility of 128 out-of-court

statements, which are mostly emails and text chats between Sinovel’s unindicted co-

defendants. The authenticity of all but one of these exhibits has already been established; the

sole remaining issue is their potential hearsay status. (The authenticity of the video of the

search of Karabasevic’s apartment will be discussed below.) The parties have thoroughly

addressed the admissibility of each individual statement, see Dkt. 300-1, but the court will

group the statements into six categories based on the government’s main arguments for their

admissibility: (1) statements made by a co-conspirator; (2) statements made by an agent;
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(3) adopted statements; (4) statements about a then-existing state of mind; (5) present sense

impressions; and (6) evidence not offered as assertions of fact.

       The first category, co-conspirator statements, includes exhibits 3, 6, 10, 12, 18, 24, 25,

28–34, 36–38, 43–45, 48–50, 52–56, 58–64, 69–73, 75–77, 79, 80, 84–87, 90, 92, 93, 97–

100, 106–112, and 115–117—statements in emails and text chats by Dejan Karabasevic, Julia

Ming, Zhao Haichun, and Su Liying. The parties agree that the government’s motion fulfills

its duty under United States v. Santiago, 582 F.2d 1128 (7th Cir. 1978), to proffer the evidence

it intends to admit under Federal Rule of Evidence 801(d)(2)(E), which provides that

statements made by a party’s co-conspirator during and in furtherance of the conspiracy are

not hearsay. Sinovel’s main complaint is that the government fails to offer any evidence

independent of the out-of-court statements to establish the conspiracy. It argues that the point

of a Santiago hearing is to put on admissible evidence of the conspiracy and the party’s

participation in it. It’s true that the co-conspirator’s statement may not establish the conspiracy

and participation in it on its own, but it may do so in combination with other evidence, and

that other evidence need not be admissible. See id. at 1133–34 (explaining that the question

whether a conspiracy has been established is considered under Rule 104(a), which allows “a

trial judge to base his ‘determination’ on hearsay and other inadmissible evidence”). Here,

evidence independent of the co-conspirators’ statements establishes that Dejan Karabasevic

used to work for AMSC; that he copied the PM3000 source code from the AMSC computer

system, adapted it, and then gave it to Sinovel; that he entered into a $1.7 million contract

with Sinovel; that around the same time, Sinovel set up a contract between Karabasevic and a

Chinese blade company; and that Julia Ming, Zhao Haichun, and Su Liying all worked for

Sinovel. This is circumstantial evidence sufficient to establish the existence of a conspiracy and


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each of the declarants’ participation in it. The co-conspirators’ statements each confirm the

existence in the conspiracy and establish that the statements were each made in furtherance of

the conspiracy. For example, in exhibit 10, Karabasevic sends Zhao a copy of his non-compete

agreement with AMSC; in exhibit 25, Ming explains to Karabasevic that to get around the non-

compete clause, Sinovel will arrange for Karabasevic to enter into a fake contract with another

company. So the court will grant the government’s motion as to this category of statements.

       A similar analysis applies to the second category, statements by an agent, which includes

exhibits 11, 47, 65–68, 74, 78, 82, 83, 88, 89, 91, 94–96, 101, 121, and 126—Karabasevic’s

statements in emails, text chats, and notes. Rule 803(d)(2)(D) requires some other evidence

that, in combination with the agent’s statement, establishes the existence and scope of the

agency or employee relationship. Independent evidence establishes that Sinovel paid

Karabasevic to obtain and modify the PM3000 source code. Karabasevic’s statements concern

that subject and therefore are “on a matter within the scope of” the agency relationship. See

Aliotta v. Nat’l R.R. Passenger Corp., 315 F.3d 756, 762 (7th Cir. 2003). So the court will grant

the government’s motion as to this category of statements.

       The third category, statements adopted by Sinovel, includes one part of exhibit 121: a

report authored by GL Garrad Hassan at Sinovel’s request, which was emailed by a Sinovel

employee to a potential Sinovel customer. This report is admissible under Rule 803(d)(2)(C),

which provides that statements that “the [opposing] party manifested that it adopted or

believed to be true” are not hearsay. So the court will grant the government’s motion as to this

category of statements.

       The fourth category, statements about a state of mind, includes exhibits 1, 4, 5, 8, 13,

15, 16, 20–23, 26, 27, 39, 41, 42, 46, 57, 101, 102, 122, and 124—again, statements in emails


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and text chats by Karabasevic, Ming, Zhao, Su, and other Sinovel employees. The government

argues that these statements are admissible under Rule 803(3), which provides that statements

“of the declarant’s then-existing state of mind (such as motive, intent, or plan)” are not

excluded by the rule against hearsay. The statements proffered by the government clearly meet

this definition. For example, Karabasevic describes his plans to his girlfriend in an email:

               At 7:45 pm I will take off in Munich, towards Beijing, our Beijing.
               There I will be welcomed by bcg, colleague from Sinovel’s HR,
               who will take me to our apartment in Beijing. I hope she will have
               enough time to show me the nearest area, since I need some basic
               shopping the same day. Afterwards I will start working for my new
               company. I will have 3 working days in coming week. Then, I will
               wellcome you, my darling, on Saturday.

Dkt. 219-15. Sinovel argues that Rule 803(3) requires a showing that “the declarant had no

chance to reflect—that is, no time to fabricate or to misrepresent his thoughts.” United States

v. Jackson, 780 F.2d 1305, 1316 (7th Cir. 1986) (quoting United States v. Layton, 549 F. Supp.

903, 909 (N.D. Cal. 1982)). But the Seventh Circuit has enforced this requirement only when

the proffered statement is self-serving and therefore unreliable—in this case, if Sinovel was

attempting to introduce these statements to support its defense. See, e.g., id. at 1315; see also 2

McCormick on Evidence §§ 270, 274 n.8 (Kenneth S. Broun ed., 7th ed.). The rationale for

requiring no chance for reflection falls apart when, as in this case, a party wishes to introduce

the statement made by the opposing party or its co-conspirator. There is no reason to suspect,

for example, that Karabasevic reflected on the possibility that he might be caught in his acts of

espionage and so wrote an email to his girlfriend misrepresenting his plans to move to Beijing

to work for Sinovel. So the court will grant the government’s motion as to this category of

statements.




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       The fifth category of statements, present sense impressions, includes exhibits 19, 20,

103, and 127—more of Karabasevic’s statements and the narration of the videotaped search

of Karabasevic’s apartment. The government argues that these statements are admissible under

Rule 803(1), which provides that statements “describing or explaining an event or condition,

made while or immediately after the declarant perceived it,” are not excluded by the rule against

hearsay. Sinovel complains about a lack of foundation for these statements—essentially, it

argues that the government hasn’t shown that Karabasevic was actually describing a real event

or condition. For example, it argues that the government hasn’t shown that Karabasevic wrote

“I am in Beijing now” while he was actually in Beijing. See Dkt. 300-1, at 41–42. But the

statements themselves indicate that Karabasevic wrote them when, or immediately after, he

was experiencing the conditions he describes, and Sinovel cites no authority requiring anything

more. So the court will grant the government’s motion as to this category of statements. (The

authenticity of the video, exhibit 127, will be analyzed below.)

       The sixth category of evidence includes exhibits 2, 7, 14, 17, 18, 24, 29, 35, 36, 40, 44,

51, 81, 84, 87, 104, 105, 110, 113, 114, 118, 120, 125, 127, and 128. The government argues

that these exhibits, or portions of them, do not meet the definition of hearsay because they are

not offered to prove the truth of the matter asserted. Sinovel does not challenge the

government’s position directly but reiterates its complaint about a lack of foundation—for

example, it complains that “the government has not laid any foundation as to the identity of

the authors of the communication” and that “the government has laid no foundation as to the

truth of any of the facts asserted in the quotes.” E.g., Dkt. 300-1, at 4. Again, the exhibits

themselves offer adequate foundation—for example, the email addresses indicate the authors

of the communication—and Sinovel cites no authority requiring anything more. The


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government need not establish the truth of the facts asserted because the government is not

offering these exhibits for that purpose. So the court will grant the government’s motion as to

this category of statements.

       But the court will deny the government’s motion as to exhibits 105 (an email from

Emma in Sinovel’s International Recruiting Department), 108 (a report on the LVRT retrofit

attached to an email from Zhao), 116 (a PowerPoint on the LVRT retrofit attached to an email

from Zhao), 117 (a document about the LVRT retrofit attached to an email from Zhao), 119

(a spreadsheet summarizing Sinovel’s progress with the LVRT retrofit), and 123 (minutes from

a meeting of Sinovel’s board of directors purportedly filed with the Shanghai Stock Exchange

Traded Companies). The government argues that these exhibits are statements by an agent or

co-conspirator, but it does not point to independent evidence that these exhibits were created

by an agent or co-conspirator, so neither rule applies. None of the exceptions argued by the

government apply, either. Exhibit 123 features hearsay-within-hearsay: the minutes themselves

are a written recording of statements purportedly made at a meeting, and the government is

offering them for their truth, to show that Sinovel’s board of directors actually made the

motions and resolutions recorded in the minutes. Perhaps some of the statements at the

meeting could fall under the state-of-mind exception, discussed below, but the minutes are still

hearsay. They are not public records because they were not made by a public office and there’s

no indication that there was a legal duty to report them. Likewise, the email in exhibit 105 is

being offered for the truth of the statements in the email. The bank receipt attached to the

email is not hearsay, but the email explaining what the receipt is, as well as Emma’s translation

of the receipt, are inadmissible hearsay. As for exhibits 108, 116, and 117, Zhao’s emails are

co-conspirator’s statements, but the report, PowerPoint, and document attached to the emails


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do not appear to be authored by Zhao, and contrary to the government’s assertion, the majority

of the report describes past work on LVRT, not Sinovel’s plans or other state of mind. So the

court will deny the government’s motion as to the email and translation in exhibit 105; the

attachments in exhibits 108, 116, and 117; and all of exhibits 119 and 123. The government

has not explained why these exhibits might be admitted under Rule 807, so the court will not

address that issue here.

B. Video

       The government seeks a pretrial ruling on the admissibility of the video of the search of

Karabasevic’s apartment. The video poses no hearsay problems, as discussed above. The issue

here is authenticity. The government indicates that this video was recorded on July 9, 2011,

by an AMSC employee and three private investigators while they searched Karabasevic’s

Beijing apartment using a key that Karabasevic provided. The government seeks to admit an

edited version of the video that contains segments “that focus on the items recovered and

avoids unnecessarily identifying the search participants, at least one of whom fears retribution

in China.” Dkt. 236, at 8.

       The government bears the burden of producing evidence sufficient to support a finding

that the video is what the government claims it is. Fed. R. Evid. 901. It may do so in several

ways, including through the “distinctive characteristics of the item, taken together with all the

circumstances.” Id. “For video records . . . the [government] should also show that the camera

functioned properly, the operator was competent in operating the equipment, and the

recording fairly and accurately represented the scene depicted.” United States v. Cejas, 761 F.3d

717, 723 (7th Cir. 2014).




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       The government contends that indicia of Karabasevic’s identity found during the

search, which is shown on the video, establishes that the video actually depicts Karabasevic’s

apartment. This evidence is reinforced, according to the government, by similarities between

the video and still images of a potential apartment sent to Karabasevic before he arrived in

Beijing and still images taken by Karabasevic of his apartment while he was living there. The

court agrees: the segments of the video that show indicia of Karabasevic’s identity and that are

filmed in the rooms also depicted in the still images were clearly recorded in Karabasevic’s

apartment. But some segments do not show indicia of Karabasevic’s identity and were recorded

in unfamiliar rooms that are not depicted in still images—the court will refer to these as the

unfamiliar segments. Because the edited video cuts from one segment to the next, the viewer

cannot determine whether the unfamiliar segments were recorded in the same apartment. And

because the video does not contain a date or time stamp, the viewer cannot determine when

any of it was filmed, let alone whether the unfamiliar segments were recorded on the same day

or around the same time as the familiar segments. In other words, there’s no way to tell were

the unfamiliar segments were recorded, and there’s no way to tell whether any segments were

recorded on July 9, 2011, as the government claims.

       The Seventh Circuit has affirmed the exclusion of a similar undated video without some

other evidence, such as the testimony of the video recorder, to establish the video’s

authenticity. See Griffin v. Bell, 694 F.3d 817, at 827 (7th Cir. 2012). Just like the video in

Griffin, which lacked a date or time stamp and “showed only a small part of the incident and

included gaps,” the edited video of the apartment search does not establish that it fairly and

accurately represents the July 9, 2011 search. Id. at 820. The government has not established




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its authenticity. That’s not to say that the edited video is conclusively inadmissible. But the

court will deny the government’s motion for a pretrial finding that it is genuine.

C. Continuing the trial

       Trial is scheduled to begin on January 8, 2018. Sinovel asks the court to delay trial until

February 26, 2018. The decision to continue trial is discretionary. Courts weigh several factors

when ruling on a motion to continue, including “(1) the amount of time available for

preparation; (2) the likelihood of prejudice from denial of the continuance; (3) the defendant’s

role in shortening the effective preparation time; (4) the degree of complexity of the case; (5)

the availability of discovery from the prosecution; (6) the likelihood a continuance would have

satisfied the movant’s needs; and (7) the inconvenience and burden to the district court and

its pending case load.” United States v. Shields, 789 F.3d 733, 748 (7th Cir. 2015).

       Sinovel contends that it does not have enough time to prepare for trial and will suffer

prejudice without a continuance. First, it explains that its lead counsel withdrew in October

2017 after being nominated for a federal judgeship, that its original senior associate attorney

withdrew sometime before then, and that its “sole trial paralegal must take a temporary leave

for a medically necessary and urgent surgery.” Dkt. 347, at 4. But its lead counsel was

nominated in July 2017, and Sinovel has had ample time and resources to prepare for a

replacement. And Sinovel does not explain when the paralegal will be unavailable or for how

long, so it’s not clear whether the temporary leave will significantly affect Sinovel’s trial

preparations. But even if the paralegal were off the case through trial, that would not warrant

moving the trial date. Nor does the departure of a senior associate. The 800 attorneys at Alston

Bird are not completely fungible. But neither are they irreplaceable. The turnover in the trial

team does not warrant changing the trial date.


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       Second, Sinovel explains that the court’s rulings, delivered at the November 8 hearing,

“will result in changes to the defense strategy that require a reasonable amount of additional

preparation time.” Id. at 5. Specifically, it argues that it must shift its defense in light of the

government’s confirmation “that its trial theory regarding the ‘trade secret’ would expand

beyond the ‘PM3000 source code.’” Id. at 6. And it complains about the government’s ongoing

discovery disclosures and the November 21 deadline for supplemental expert disclosures and

December 8 deadline for Rule 16 disclosures set by the court. Nothing in the court’s ruling of

November 8 radically expound or change the scope of this case. Nor does any of the

government’s recent disclosures. And all this comes with two months to go before trial. The

government has arranged for about 30 witnesses to be at trial, and moving the date would be

highly prejudicial. The court will deny Sinovel’s motion to move the trial date.




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                                  ORDER

IT IS ORDERED that:

1. Defendant Sinovel Wind Group Co., Ltd.’s motion for a Santiago hearing, Dkt. 130,
   is DENIED.

2. Defendant’s motion to quash service, Dkt. 205, is DENIED.

3. The government’s motion to compel discovery, Dkt. 211, is GRANTED. Defendant
   must fulfill its Rule 16 disclosure obligations by December 8, 2017.

4. The government’s motion for admission of out-of-court statements, Dkt. 215, is
   GRANTED in part, consistent with the opinion above.

5. Defendant’s motion to compel expert disclosures, Dkt. 226, is DENIED.

6. The government’s motion for admission of electronic and documentary evidence,
   Dkt. 236, is GRANTED in part, consistent with the opinion above.

7. Defendant’s motion to compel production of evidence, Dkt. 239, is DENIED.

8. The government’s motion to compel expert disclosures, Dkt. 295, is GRANTED as
   to Michael Bandemer and Craig Christenson. Defendant must supplement its
   disclosures as to those two experts by November 21, 2017.

9. Defendant’s motion for a bill of particulars, Dkt. 317, is DENIED as moot.

10. The government’s motion to strike, Dkt. 318, is DENIED as moot.

11. Defendant’s renewed motion for a bill of particulars and to strike surplusage,
    Dkt. 340, is DENIED.

12. Defendant’s motion to dismiss, Dkt. 325, is DENIED as moot.

13. Defendant’s motion for a hearing, Dkt. 326, is GRANTED.

14. Defendant’s motion to continue trial, Dkt. 346, is DENIED.

Entered November 15, 2017.

                                   BY THE COURT:

                                   /s/
                                   ________________________________________
                                   JAMES D. PETERSON
                                   District Judge


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